                                                                                                                               LF 5005-3(f) (7/1/2017)
                                                                UNITED STATES BANKRUPTCY COURT
                                                                EASTERN DISTRICT OF WASHINGTON


 In re:      Fernando Enriquez, Jr.                                            )   Case No.
                                                                               )
                                                                               )
                                                                               )   STATEMENT OF WITNESS TO
                                                                               )   SIGNING OF DOCUMENT
                                                                     Debtor(s) )
                                                                               )


The undersigned states under penalty of perjury that he/she witnessed the signing of the following document(s) by the
person(s) indicated thereon.

                  Voluntary Petition

                  Declaration Concerning Debtor's Schedules

                  Statement of Social Security Number

                  Statement of Affairs

                 Other:




 Dated:        April 25, 2022




                                                                                         /s/ Benjamin J. Riley
                                                                                        Witness Signature

                                                                                         Benjamin J. Riley
                                                                                        Witness Name (printed or typed)


                                                                                        Address:      1112 Meade Ave.

                                                                                                      Prosser, WA 99350




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              22-00352-WLH12                        Doc 22           Filed 04/26/22    Entered 04/26/22 10:34:38            Pg 1 of 1
